Case 1:14-ml-02570-RLY-TAB Document 19792 Filed 08/27/21 Page 1 of 3 PageID #:
                                 123108



                               IN THE UNITED STATES DISTRICT
                                COURT SOUTHERN DISTRICT OF
                               INDIANA INDIANAPOLIS DIVISION

    IN RE: COOK MEDICAL, INC, IVC FILTERS
    MARKETING, SALES PRACTICES AND                                Case No. 1:14-ml-2570-RLY-
    TAB PRODUCTS LIABILITY LITIGATION                             MDL No. 2570



    This Document Relates to Plaintiffs
    Jeff Clark; Dennis Florent; Tom Ford; Vanessa Green;
    Marcus Jackson; Leif Jonassen; Jesse Kasma; Judith Parks;
    Clara Romero; Ruth Sowadski; Heather Taylor; Terry
    Wilson; and William Yarling

    Civil Case Numbers:
    1:20-cv-02343-RYL-TAB
    1:21-cv-00709-RLY-TAB
    1:17-cv-02546-RLY-TAB
    1:21-cv-06364-RLY-TAB
    1:19-cv-03951-RLY-TAB
    1:20-cv-02877-RLY-TAB
    1:16-cv-01162-RLY-TAB
    1:17-cv-02968-RLY-TAB
    1:18-cv-01571-RLY-TAB
    1:19-cv-03035-RLY-TAB
    1:17-cv-01418-RLY-TAB
    1:16-cv-02137-RLY-TAB
    1:19-cv-02388-RLY-TAB




                            NOTICE OF SUBSTITUTION OF COUNSEL


          Pursuant to Local Rule 83-7(c), the undersigned, Jessica S. Williams, hereby notifies the

    Court and all counsel that she is appearing as counsel of record for Plaintiffs Jeff Clark; Dennis

    Florent; Tom Ford; Vanessa Green; Marcus Jackson; Leif Jonassen; Jesse Kasma; Judith Parks;

    Clara Romero; Ruth Sowadski; Heather Taylor; Terry Wilson; and William Yarling, in the master

    file and in the following cases:

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                  1:20-cv-02343-RYL-TAB
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                  1:19-cv-02388-RLY-TAB

          Notice is further given that the appearance of Ahmed S Diab is hereby withdrawn. Mr.

    Diab is no longer employed at Gomez Trial Attorneys.

          Local Rule 83-7(c) allows for attorneys within the same firm to substitute and or

    withdrawal their appearance. “When one attorney seeks to replace another attorneys from the

    same firm, agency, organization, or office as counsel of record on behalf of a party, a Notice

    of Substitution of Counsel may be filed in lieu of an appearance and motion to withdraw under

    sections (a) and (b) above.”

                                        Respectfully submitted,

   Dated: August 27, 2021               GOMEZ TRIAL ATTORNEYS


                                         /s/ Jessica S. Williams
                                         John H. Gomez, CA Atty. No. 171485
                                         Jessica S. Williams, CA Atty. No. 314762
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                                         San Diego, California 92101
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                                 123110



                                 CERTIFICATE OF SERVICE

          I hereby certify that on A u g u s t 2 7 , 2 0 2 1 , a copy of the foregoing was served
   electronically and notice of the service of this document will be sent to all parties by operation
   of the Court’s electronic filing system to CM/ECF participants registered to receive service in
   this matter. Parties may access this filing through the Court’s system. A copy of the foregoing
   was also served via U.S. Mail to all non-CM/ECF participants:



                                             /s/ Jessica S. Williams                         .




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